Case 1:18-cr-00381-MSK-GPG Document 1 Filed 08/16/18 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Criminal Case No.    18-cr-00381-GPG                                            FILED
                                                                       UNITED STATES DISTRICT COURT
  UNITED STATES OF AMERICA,                                                 DENVER, COLORADO
                                                                                 1:52 pm, Aug 16, 2018

                                                                         JEFFREY P. COLWELL, CLERK
         Plaintiff,

  v.

  1. BRUCE HOLDER

         Defendant.


                                           INDICTMENT


         The Grand Jury charges:

                                             COUNT 1

         On or about December 26, 2017, within the State and District of Colorado, the defendant,

  BRUCE HOLDER, did knowingly and intentionally distribute a mixture and substance

  containing a detectable amount of fentanyl, a Schedule II controlled substance, the use of which

  resulted in the death of J.E. on or about December 28, 2017; in violation of Title 21, United

  States Code, Sections 841(a)(1) and (b)(1)(C).


                                             COUNT 2

         On or about December 26, 2017, within the State and District of Colorado, the defendant,

  BRUCE HOLDER, did knowingly and intentionally distribute a mixture and substance

  containing a detectable amount of fentanyl, a Schedule II controlled substance, the use of which

  resulted in serious bodily injury to Z.G. on or about December 28, 2017; in violation of Title 21,
Case 1:18-cr-00381-MSK-GPG Document 1 Filed 08/16/18 USDC Colorado Page 2 of 3




  United States Code, Sections 841(a)(1) and (b)(1)(C).


                                   FORFEITURE ALLEGATION

         1.      The allegations contained in Counts 1 and 2 of this Indictment are hereby re-

  alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to the

  provisions of Title 21, United States Code, Section 853.

         2.      Upon conviction of the violations alleged in Counts 1 and 2 of this Indictment

  involving violations of Title 21, United States Code, Sections 841(a)(1), defendant, BRUCE

  HOLDER, shall forfeit to the United States, pursuant to Title 21, United States Code, Section

  853 any and all of the defendant’s right, title, and interest in all property constituting and derived

  from any proceeds obtained directly and indirectly as a result of such offense, and in all property

  used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of

  such offense, including, but not limited to a money judgment in the amount of proceeds obtained

  by the defendant.

         3.      If any of the property described above, as a result of any act or omission of the

  defendant:

                 a)      cannot be located upon the exercise of due diligence;
                 b)      has been transferred or sold to, or deposited with, a third
                         party;
                 c)      has been placed beyond the jurisdiction of the Court;
                 d)      has been substantially diminished in value; or
                 e)      has been commingled with other property which
                         cannot be subdivided without difficulty;

  it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

  seek forfeiture of any other property of said defendant up to the value of the forfeitable property.

                                                    2
Case 1:18-cr-00381-MSK-GPG Document 1 Filed 08/16/18 USDC Colorado Page 3 of 3




                                     A TRUE BILL


                                     Ink signature on file in Clerk’s Office
                                     FOREPERSON


  ROBERT C. TROYER
  United States Attorney


  s/ Jeremy Chaffin
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                                        3
